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St. Kitts And Nevis Marriott & ResortsHotel

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before any statement or declaration is given. —

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St. Kitts Marriott Resort & The Royal Beach Casino

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Every Monday
from 6-10 pm

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BEACH POOL BAR |
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Café Calypso
Enjoy flavored coffe
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Bohemia Beach Bar & Grille
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Serving breakfast and lunch. Bountiful breakfast buffet delights
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ultimate family feast ‘La Festa italiana’ v with pasta 5
Reservations are recommended.

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Aclassic steakhouse offering mouth-watering beef and seafood
cooked to your preference in our open kitchen. Whatever the
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elegant and reservations are recommended.

Pizza Shack

Take a moment to sit back and enjoy our unique menu while
you feel the cool breeze of the Atlantic Ocean soothe your
mind. The open-air atmosphere will allow you to stirup some
fun or easily wind down from an exciting day.

St Kitts Marriott St Kitts Ma

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Slip and Fall 18/07/2013 18/07/2013 Associate). L
Exact Location of Incident... 52) Time'ofncident’ —- ‘Time of Report °7. | Incident’ Coa ais
On Floor pe to ge reorn sink, 00:15 00: 20. = 0097

NATE RSS Te Rae ys oS SS Address & RE es oe a tt ak 9 NRE RT MCT TEE
| Mrs. Veronica Brown “Mulvaney 463 East 56 St Brooklyn New York, U. § A

| Date.of Birth’ | Sex| Work Telephone |Home Telephone # amall Add ress Carriers rcasnateeee aes
April 9"" 1956 | F 1-718-629-1213 1-917-584-9432 "Buffie3@verizon. net

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NARRATIVES oth, Gre details ‘n eonclse temis fi Cael geen, here 8 ii eer. Baenit st pevple involved bae list a vere 5 Riek th Ss a :

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On Wednesday 18" July 2013 at about 00:20 hrs, I was informed ofa slip and fall in room 1455. Th eft
to investigate.

I arrived at room 455 and was met at the door by Ms. Judith Gomez. She allowed me in and
introduced Mrs. Victoria Brown-Mulvaney. Ms. Brown-Mulvaney stated, she was making her way
to the restroom when she slipped and fell as result of the water that dripped from the AC vent in the
ceiling onto the tiled floor. She landed on the outer side of her left leg. There was pain in the
covering from her hip down to her leg. She did not see the need for further care but would monitor
throughout her stay and inform us if anything developed.

[ arrived at the room and met Mrs.-Brown-Mulvaney quietly lying in bed. She declined being taken
to the hospital or having an ice pack applied to the area. Specific mention was made as to having the
incident reported. When asked about providing a statement she scheduled for a later time. I received |
her voluntary statement in the Lobby at 07:15 hrs. At that point she stated that her left ankle was
swollen as a result. She walked through the Lobby Entrance/Exit unassisted, after handing me her

statement.

Tyrone O’Loughlin (EOD) arrived in the room before me. He confirmed that there was water on the
floor. This was result of the AC drainage pan having a leak which caused water to drip from the vent
in the ceiling on to the floor. The repair process was under way by the Engineering Team.

Please See Accompanying Data

a)Voluntary Statement of Mrs. Brown - Mulvaney
b)Room Folio

DEFENDANT'S Mi - 00084

No. 127582 ST KITTS-NEVIS
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X- RAY REQUEST FORM

Case 1:14-cv-05960-NG-RLM Document 83 Filed 01/11/19 Page 25 of 28 PagelD #: 904

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Examination Requested: > // >, Date last X ~ Rayed:
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Clinical History: | (if [ a : t
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Medical Officer
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Case 1:14-cv-05960-SLT-RLM Document 54-3 Filed 10/24/17 | age 1 of 3 PagelD #: 70
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ST. KITTS
RESORT
& THE ROYAL BEACH CASINO
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Verconica Browne- Mulvaney Aartiott.
463 East 56 St RoomNo. ; 12215
Brow klyn NY 11203 Anival > 17/07/13
Unite2d States Departure: 28/07/13
Page No, ;
INFORMATION INVOICE rite 2
Conf. No. : 81838062
Company Name; User ID : DGILA346

Cashier No. : 105i

Thank you for staying with us 22/07/13
Date Description Charges Credits
USD USD

17/07/43 Room Charge 84.00
17/07/43 Island Enhancement Tax 1.68
17/07/13 Service Charge 0.50
17/07/13 VAT 10% 8.40
18/07/13 Room Charge 84.00
18/07/43 Island Enhancerrent Tax 1.68
18/07/13 Service Charge 10.50
18/07/13 VAT 10% 8.40
19/07/13 Room Charge 84.00
19/07/13 Island Enhancement Tax 1.68
19/07/13 Service Charge 10.50
19/07/13 VAT 10% 8.40
20/07/13 RoomService 10.87

Room# 00455 ; CHECK# 345
20/07/13 Room Charge 84.00
20/07/13 Island Enhancement Tax 1.68
20/07/13 Service Charge 10.50
20/07/13 VAT 10% 8.40
21/07/13 Calypso Restaurant 59.82

Room# 12215 ; CHECK# 1038
21/07/13 Emerald Mist Spa 49.00

Room# 12215 : CHECK# 0000
21/07/13. Room Charge 84.00
21/07/13 Island Enhancement Tax 1.68
21/07/13 = Service Charge 10.50
21/07/13 VAT 10% 8.40

8.02

22/07/13 Calypso Cafe

Royal St, Kitts Beach Resort Limited
TIN: 00130695
858 Zenway Blvd, Frigate Bay, St. Kitts, BWI
Tel 869/466-1200 Fax 869/466-1201

Case 1:14-cv-05960-NG-RLM Document 83 Filed 01/11/19 Page 27 of 28 PagelD #: 906

Case 1:14-cv-05960-SLT-RLM Document 54-3 Filed 10/24/17 Page 2 of 3 PagelD #: 708
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ST. KITTS
RESORT
& THE ROYAL BEACH CASINO
Se
Veronica Browne-Mulvaney Aarrioft
463 East 56 st RoomNo. : 12215
Brooklyn NY 11203 Arrival * 17/07/13
Uniteed States Departure; 28/07/13
Page No. : 2oF2
INFORMATION INVOICE Folio/Inv. :
Conf. No. : 81838062
Company Name: User ID :  DGILB346
Cashier No. : 1061
Thank you for staying with us 22/07/13
Date Description Charges Credits
USD USD

Room# 12215 ; CHECK# 2161

22/07/13 S&P Engineer Hosp 72.0
Guest had leak In room and fell, credit was done for
taxl fees and hospital! and bandaid

OV

650.61 72.06
Balance 578.55 USO

Signature
Should you have any questions conceming your account, please contact our Front Office Manager at
mors.skbrb. fom@mariotthotels.com or by dialing our Toll Free number 1-866-847-1139,

Please note that intemationa! credit cards are subject to exchange rates that may vary slightly from the one used

by the hotel at checkout, In addition, some credit card companies may charge a fee for card use cutside of the
country of ongin,

Please also observe that we do not accept personal checks to settie the bill,

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TIN: 00130695
858 Zenway Blvd, Frigate Bay, St. Kitts, BWI
Tel 869/466-1200 Fax 869/466-1201
Case 1:14-cv-05960-SLT-RLM

Vero nica Browne- Mulvaney

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Document 54-3 Filed 10/24,

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RESORT
& THE ROYAL BEACH CASINO
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Case 1:14-cv-05960-NG-RLM Document 83 Filed 01/11/19 Page 28 of 28 PagelD #: 907

463 BEast 56 St Room No. 00455
Broolklyn NY 11203 Anival 17/07/13
Unitezd States Departure 28/07/13
Page No, lofi
INFO RMATION INVOICE Folio / Inv, !
Conf. No. 81838062
Company Name User ID > KWARN393
Cashier No. : 1015
Thank you for staying with us 18/07/13
Date Description Charges Credits
USD USD
17/07/13 Room Charge 84.00
17/07/13 Island Enhancement Tax 1.68
17/07/L3 Senice Charge 10.50
17/07/13 VAT 10% 8.40
104.58 0.00
Balance 104.58 USD
Signature

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Please also observe that we do not accept personal checks to settle the bill,

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MI - 00088
